                 Case: 25-1592
               UNITED          Document:
                       STATES COURT  OF18   Page: 1FORDate
                                         APPEALS       THEFiled:
                                                           THIRD 04/11/2025
                                                                     CIRCUIT

                                CIVIL APPEAL INFORMATION STATEMENT

COUNSEL FOR APPELLANT: This statement is due to be filed with the Clerk of the Court of
Appeals not later than 14 days from the docketing of the notice of appeal.

SHORT CAPTION WITH IDENTITY OF APPELLANT:
___________________________________________________________________________________
Atlas Data Privacy Corporation, et al. v. Spy Dialer, Inc.


APPEAL FROM DISTRICT COURT:
          District of New Jersey
District:____________________________________________________________________________
D.C. Docket No.:_____________________________________________________________________
                       1:24-cv-11023
Date proceedings initiated in D.C.:_______________________________________________________
                                                December 10, 2024
Date Notice of Appeal filed:____________________________________________________________
                                      April 1, 2025
USCA No.:_________________________________________________________________________
               25-1592
___________________________________________________________________________________
                                                     COUNSEL ON APPEAL
Appellant(s):_______________________________________________________________________
                  Spy Dialer, Inc.

Name of Counsel:____________________________________________________________________
                        Christopher Nucifora, Esq. and Timothy M. Ortolani, Esq.
Name of Party(ies):___________________________________________________________________
                          Spy Dialer, Inc.
Address:___________________________________________________________________________
           25 Main Street, Suite 500, Hackensack, NJ 07601
Telephone No.:______________________________________________________________________
                    (201) 708-8207
Fax No.:____________________________________________________________________________
          (201) 488-6652
E-mail:_____________________________________________________________________________
         cnucifora@kaufmandolowich.com;       tortolani@kaufmandolowich.com


For Appellee(s): *List only the names of parties and counsel who will oppose you on appeal
Name of Counsel:____________________________________________________________________
                     Rajiv D. Parikh, Esq.; Jessica A. Merejo, Esq.; Kathleen Einhorn, Esq. (PEM Law LLP)

Name of Party(ies):___________________________________________________________________
                       Atlas Data Privacy Corporation; Jane Doe-1; Jane Doe-2; Edwin Maldonado; Scott Maloney; Justyna Malloney
Address:___________________________________________________________________________
         1 Boland Drive, Suite 101; West Orange, NJ 07052
Telephone No.:______________________________________________________________________
                 (973) 577-5500
Fax No.:____________________________________________________________________________
E-mail:_____________________________________________________________________________
       rparikh@pemlawfirm.com; jmerejo@pemlawfirm.com; keinhorn@pemlawfirm.com


Name of Counsel:____________________________________________________________________
                  See Attached Addendum
Name of Party(ies):___________________________________________________________________
Address:___________________________________________________________________________
Telephone No.:______________________________________________________________________
Fax No.:____________________________________________________________________________
E-mail:_____________________________________________________________________________

Is this a Cross-Appeal?                  Yes        No ✔
Appeals Docket No.:__________________________________________________________________

Was there a previous appeal in case?        Yes        No ✔
If yes, Short Title:____________________________________________________________________
Appeals Docket No.:__________________________________________________________________
Citation, if reported:__________________________________________________________________
To your knowledge Case:    25-1592
                       is there any caseDocument:
                                           now pending 18 orPage:
                                                             about2to beDate Filed:
                                                                         brought    04/11/2025
                                                                                 before this Court or any other
court or administrative agency which:
a) Arises from substantially the same case or controversy as this appeal?           Yes          No ✔
b) Involves an issue that is substantially the same, similar, or related to an issue in this appeal?
                                                                                    Yes ✔        No
If you answered yes to either “a” or “b” please provide:
Case Name:_________________________________________________________________________
              See Attached Addendum of Consolidated Cases

D.C. Docket No.:_____________________________________________________________________
Court or Agency:_____________________________________________________________________
Docket Number:_____________________________________________________________________
Citation, if reported:__________________________________________________________________
___________________________________________________________________________________
                                                 NATURE OF SUIT
                                            (Check as many as apply)

1. FEDERAL STATUTES                                           ASSAULT/DEFAMATION
   ANTITRUST                                                  PRODUCT LIABILITY/WARRANTY
   BANKRUPTCY                                                 DIVERSITY
   BANKS & BANKING                                            OTHER Specify:______________________
   CIVIL RIGHTS
   COMMERCE, ROUTES, AND TARIFFS                           3. CONTRACTS
   COMMODITIES                                                ADMIRALTY/MARITIME
   COMMUNICATIONS                                             ARBITRATION
   CONSUMER PROTECTION                                        COMMERCIAL
   COPYRIGHT                                                  EMPLOYMENT
   PATENT                                                     INSURANCE
   TRADEMARK                                                  NEGOTIABLE DISBURSEMENTS
   ELECTION                                                   OTHER Specify:______________________
   ENERGY
   ENVIRONMENTAL                                           4. PRISONER PETITIONS
   FOIA FREEDOM OF INFORMATION                                CIVIL RIGHTS
   IMMIGRATION                                                VACATE SENTENCE 2255
   LABOR                                                      HABEAS CORPUS 2254
   OSHA                                                       HABEAS CORPUS 2241
   SECURITIES                                                 MANDAMUS/PROHIBITION
   SOCIAL SECURITY                                            OTHER Specify:______________________
   TAX
   EQUAL ACCESS TO JUSTICE                                 5. OTHER
   OTHER Specify:______________________                       FORFEITURE
                                                              CIVIL GRAND JURY
2. TORTS                                                      TREATY Specify:_____________________
   ADMIRALTY                                                ✔ OTHER Specify:______________________
                                                                            NJSA 56:8-166.1, et seq.


This is to certify that this civil appeal information statement was filed with the Clerk of the U.S. Court
of Appeals for the Third Circuit and a copy hereof served to each party or their counsel of record this
_____
11     day of ____________________,
                April                       20_____
                                               25    .

                     /s/ Christopher Nucifora, Esq.
Signature of Counsel:_________________________________________________________________
          Case: 25-1592       Document: 18       Page: 3     Date Filed: 04/11/2025




            ADDENDUM TO CIVIL APPEAL INFORMATION STATEMENT

                                      (Case No. 25-1592)

       Counsel on Appeal (cont. from page 1 of Civil Appeal Information Statement):

For Appellee(s):
Name of Counsel: Adam R. Shaw, Esq.; Mark C. Mao, Esq.; Eric M. Palmer, Esq.; Samantha D.
Parrish, Esq. (Boies Schiller Flexner LLP)
Names of Party(ies): Atlas Data Privacy Corporation, Jane Doe-1, Jane Doe-2,
Edwin Maldonado, Scott Maloney, Justyna Maloney
Address: 30 S. Pearl Street, 12th Floor, Albany, NY 12207
Telephone No.: (518) 434-0600
Email: ashaw@bsfllp.com; mmao@bsfllp.com;
epalmer@bsfllp.com; sparrish@bsfllp.com


For Intervenor(s):

Name of Counsel: Liza Fleming, Esq.
Names of Party(ies): Intervenor, Attorney General of New Jersey
Address: RJ Hughes Justice Complex, 25 Market Street, PO Box 080, Trenton, NJ 08625
Telephone No.: (609) 789-8684
Email: liza.fleming@njoag.gov; OSG@njoag.gov

     Other Pending Cases (cont. from page 2 of Civil Appeal Information Statement):

Case Name: Atlas Data Privacy Corp., et al v. We Inform, LLC, et al.
D.C. Docket No.: 1:24-cv-4037-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1555

Case Name: Atlas Data Privacy Corp. et al. v. Infomatics, LLC, et al.
D.C. Docket No.: 1:24-cv-4037-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1556

Case Name: Atlas Data Privacy Corp., et al v. The People Searchers, LLC
D.C. Docket No.: 1:24-cv-4045-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1557

Case Name: Atlas Data Privacy Corp., et al. v. DM Group, Inc.
D.C. Docket No.: 1:24-cv-04075-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1558


                                                1
          Case: 25-1592       Document: 18       Page: 4     Date Filed: 04/11/2025




Case Name: Atlas Data Privacy Corp., et al v. Deluxe Corporation, et al.
D.C. Docket No.: 1:24-cv-4080-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1559

Case Name: Atlas Data Privacy Corp., et al v. Quantarium Alliance, LLC
D.C. Docket No.: 1:24-cv-4098-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1560

Case Name: Atlas Data Privacy Corp., et al v. Yardi Systems, Inc., et al.
Docket No.: 1:24-cv-4103-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1561

Case Name: Atlas Data Privacy Corp., et al v. Digital Safety Products, LLC
D.C. Docket No.: 1:24-cv-4141-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1562

Case Name: Atlas Data Privacy Corp., et al v. Civil Data Research
D.C. Docket No.: 1:24-cv-04143-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1563

Case Name: Atlas Data Privacy Corp., et al v. Scalable Commerce, LLC
D.C. Docket No.: 1:24-cv-04160-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1564

Case Name: Atlas Data Privacy Corp., et al v. Labels & Lists, Inc.
Docket No.: 1:24-cv-4174-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1565

Case Name: Atlas Data Privacy Corp., et al v. Innovis Data Solutions Inc.,
D.C. Docket No.: 1:24-cv-4176-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1566

Case Name: Atlas Data Privacy Corp., et al v. Accurate Append, Inc.
D.C. Docket No.: 1:24-cv-4178-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1567




                                                2
          Case: 25-1592       Document: 18       Page: 5     Date Filed: 04/11/2025




Case Name: Atlas Data Privacy Corp., et al v. Zillow, Inc., et al.
D.C. Docket No.: 1:24-cv-04256-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1568

Case Name: Atlas Data Privacy Corp., et al v. Equimine, Inc., et al.
Docket No.: 1:24-cv-04261 -HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1569

Case Name: Atlas Data Privacy Corp., et al. v. Thomson Reuters Corp.
D.C. Docket No.: 1:24-cv-04269-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1570

Case Name: Atlas Data Privacy Corp., et al v. Melissa Data Corp., et al.
D.C. Docket No.: 1:24-cv-4292-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1571

Case Name: Atlas Data Privacy Corp., et al v. Restoration of America, et al.
D.C. Docket No.: 1:24-cv-4324-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1572

Case Name: Atlas Data Privacy Corp., et al v. i360, LLC, et al.
Docket No.: 1:24-cv-4345-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1573

Case Name: Atlas Data Privacy Corp., et al v. GoHunt, LLC, et al.
D.C. Docket No.: 1:24-cv-04380-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1574

Case Name: Atlas Data Privacy Corp., et al v. Accuzip, Inc.
D.C. Docket No.: 1:24-cv-4383-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1575

Case Name: Atlas Data Privacy Corp., et al v. Synaptix Technology, LLC
D.C. Docket No.: 1:24-cv-4385-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1576




                                                3
          Case: 25-1592       Document: 18       Page: 6     Date Filed: 04/11/2025




Case Name: Atlas Data Privacy Corp., et al v. Joy Rockwell Enter., Inc.
Docket No.: 1:24-cv-4389-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1577

Case Name: Atlas Data Privacy Corp., et al v. Fortnoff Financial, LLC
D.C. Docket No.: 1:24-cv-04390-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1578

Case Name: Atlas Data Privacy Corp., et al v. MyHeritage, Ltd., et al.
D.C. Docket No.: 1:24-cv-4392-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1579

Case Name: Atlas Data Privacy Corp., et al v. E-Merges.com, Inc.
D.C. Docket No.: 1:24-cv-4434-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1580

Case Name: Atlas Data Privacy Corp., et al v. Nuwber, Inc., et al.
Docket No.: 1:24-cv-04609-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1581

Case Name: Atlas Data Privacy Corp., et al v. RocketReach LLC, et al.
D.C. Docket No.: 1:24-cv-4664-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1582

Case Name: Atlas Data Privacy Corp., et al v. Belles Camp Comm., Inc.
D.C. Docket No.: 1:24-cv-04949-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1583

Case Name: Atlas Data Privacy Corp., et al v. PropertyRadar, Inc., et al.
D.C. Docket No.: 1:24-cv-5600-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1584

Case Name: Atlas Data Privacy Corp., et al v. The Alesco Group, L.L.C.
Docket No.: 1:24-cv-5656-MB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1585




                                                4
          Case: 25-1592       Document: 18       Page: 7     Date Filed: 04/11/2025




Case Name: Atlas Data Privacy Corp., et al v. Searchbug, Inc.
D.C. Docket No.: 1:24-cv-05658-MB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1586

Case Name: Atlas Data Privacy Corp., et al. v. Amerilist, Inc., et al.
D.C. Docket No.: 1:24-cv-05775-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1587

Case Name: Atlas Data Privacy Corp., et al. v. US Data Corporation, et al.
D.C. Docket No.: 1:24-cv-7324-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1588

Case Name: Atlas Data Privacy Corp., et al. v. Smarty, LLC, et al.
Docket No.: 1:24-cv-8075-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1589

Case Name: Atlas Data Privacy Corp., et al. v. Compact Inform. Sys., LLC
D.C. Docket No.: 1:24-cv-8451-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1590

Case Name: Atlas Data Privacy Corp., et al. v. Darkowl, LLC, et al.
D.C. Docket No.: 1:24-cv-10600-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1591

Case Name: Atlas Data Privacy Corp., et al. v. Lighthouse List Co., LLC
D.C. Docket No.: 1:24-cv-11443-HB
Court or Agency: United States District Court for the District of New Jersey
Docket No.: 25-1593




                                                5
